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12                         IN THE UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF WASHINGTON
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      In re:
14                                                      Case No.: 20-01469-WLH11
      MCCARY MEATS, LLC,
15                                                    *EX PARTE*
                                              Debtor. ORDER FOR 2004 EXAM
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               THIS MATTER came before the court upon the ex parte Motion for 2004 Exam
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     (“Motion”) of Creditor Bell Veal LLC (“BV”) for an order authorizing BV’s counsel to issue a
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     subpoena duces tecum to Debtor McCary Meats, LLC (“Debtor”) to produce certain documents
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21   and directing Debtor to designate a knowledgeable representative of the Debtor to appear and be

22   examined under oath. This court has reviewed the Motion and its subjoined Certification of
23   Counsel, and the records and files herein. This court finds that notice of the Motion is not required
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     under the applicable rules and that good cause exists for the requested relief to be granted.
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     THEREFORE, it is hereby:
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      ORDER FOR 2004 EXAM - 1                                       SCHWEET LINDE & COULSON, PLLC
                                                                                575 S. MICHIGAN ST.
                                                                                SEATTLE, WA 98108
                                                                         P (206) 275-1010 F (206) 381-0101
     20-01469-WLH11        Doc 136-2      Filed 09/10/21     Entered 09/10/21 11:43:49              Pg 1 of 2
            ORDERED, ADJUDGED, AND DECREED that BV’s counsel may issue a subpoena
 1

 2   duces tecum requiring the production of documents by Debtor at least seven (7) calendar days

 3   ahead the examination of the designated representative of the Debtor; and it is further:

 4          ORDERED, ADJUDGED, AND DECREED that BV’s counsel may include a requirement
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     that the designated representative of the Debtor appear to be examined under oath at a date, time,
 6
     and medium to be mutually agreed upon by Debtor and BV.
 7
                                             ///End of Order///
 8
     Presented by:
 9

10   SCHWEET LINDE & COULSON, PLLC

11
     /s/Michael M. Sperry                         /
12   Michael M. Sperry, WSBA #43760
     Attorneys for Bell Veal LLC
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      ORDER FOR 2004 EXAM - 2                                       SCHWEET LINDE & COULSON, PLLC
                                                                               575 S. MICHIGAN ST.
                                                                               SEATTLE, WA 98108
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